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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


    SOCIAL POSITIONING INPUT
    SYSTEMS, LLC,
                   Plaintiff,                             C.A. No. 4:22-cv-01311

                v.                                        JURY TRIAL DEMANDED

                                                          PATENT CASE
    AMCREST TECHNOLOGIES LLC,

                       Defendant.


       AMCREST TECHNOLOGIES LLC’S ANSWER, AFFIRMATIVE DEFENSES,
             AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT


        Defendant Amcrest Technologies LLC (“Amcrest” or “Defendant”) files this Answer,

Affirmative Defenses, and Counterclaims to Plaintiff Social Positioning Input Systems, LLC’s

(“Plaintiff” or “Social Positioning”) Complaint for Patent Infringement (“Complaint”). Amcrest

denies the allegations and characterizations in Plaintiff’s Complaint unless expressly admitted in

the following paragraphs.1

                               PARTIES AND JURISDICTION

        1.     Amcrest admits that the Complaint purports to set forth an action for infringement

under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.

        2.     Amcrest admits that this Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).


1
  For avoidance of doubt, Amcrest denies liability for all allegations of patent infringement
included or implied in the introductory paragraph or in any headings of the Complaint.
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       3.      Amcrest is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies all such

allegations.

       4.      Amcrest admits the allegations in Paragraph 4 of the Complaint.

       5.      Amcrest does not contest that the Court has personal jurisdiction over it in this

case. Amcrest admits that it conducts business in the State of Texas. Amcrest denies it has

committed or is committing acts of infringement within this district or elsewhere and, on that

basis, denies the remaining allegations of Paragraph 5 of the Complaint.

       6.      Amcrest admits that it has used, imported, offered for sale, or sold

instrumentalities in this District. Amcrest denies it has committed or is committing acts of

infringement within this district or elsewhere and, on that basis, denies the remaining allegations

of Paragraph 6 of the Complaint

                                             VENUE

       7.      Amcrest does not contest that venue is proper in this case, but denies that venue is

convenient.

                                            COUNT I

      (ALLEGED) INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365

       8.      Amcrest incorporates paragraphs 1 through 7 herein by reference.

       9.      Amcrest admits that the Complaint purports to set forth an action for infringement

under the Patent Laws of the United States, 35 U.S.C. §§ 271, et seq.

       10.     Amcrest is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 10 of the Complaint and, on that basis, denies all such

allegations.
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          11.    Amcrest admits that a purported copy of U.S. Patent No. 9,261,365 (the “’365

Patent”) is attached to the Complaint as Exhibit A and that the face of that patent indicates that it

is entitled “Device, System and Method for Remotely Entering, Storing and Sharing Addresses

for a Positional Information Device.”

          12.    Amcrest denies the allegations in Paragraph 12 of the Complaint.

          13.    Amcrest denies the allegations in Paragraph 13 of the Complaint.

          14.    Amcrest denies the allegations in Paragraph 14 of the Complaint.

          15.    Amcrest denies the allegations in Paragraph 15 of the Complaint.

          16.    Amcrest denies the allegations in Paragraph 16 of the Complaint.

          17.    Amcrest denies the allegations in Paragraph 17 of the Complaint.

          18.    Amcrest denies the allegations in Paragraph 18 of the Complaint.

          19.    Amcrest denies the allegations in Paragraph 19 of the Complaint.

          20.    Amcrest is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 20 and, on that basis, denies all such allegations.

                          [PLAINTIFF’S] DEMAND FOR JURY TRIAL

          Amcrest is not required to provide a response to Plaintiff’s demand for a trial by trial.

                              [PLAINTIFF’S] PRAYER FOR RELIEF

          Amcrest denies the Plaintiff is entitled to any relief from Amcrest and denies all the

allegations contained in Paragraphs (a)-(e) (including any subparts) of Plaintiff’s Prayer for

Relief.

                                    AFFIRMATIVE DEFENSES

          Amcrest’s Affirmative Defenses are listed below. Amcrest reserves the right to amend its

answer to add additional Affirmative Defenses consistent with the facts discovered in this case.

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                              FIRST AFFIRMATIVE DEFENSE

       Amcrest has not infringed and does not infringe, under any theory of infringement

(including directly (whether individually or jointly) or indirectly (whether contributorily or by

inducement)), any valid, enforceable claim of the ’365 Patent.

                             SECOND AFFIRMATIVE DEFENSE

       Each asserted claim of the ’365 Patent is invalid for failure to comply with one or more

of the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C.

§§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                              THIRD AFFIRMATIVE DEFENSE

       To the extent that Plaintiff and any predecessors in interest to the ’365 Patent failed to

properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or

otherwise give proper notice that Amcrest’s actions allegedly infringe the ’365 Patent, Amcrest

is not liable to Plaintiff for the acts alleged to have been performed before Amcrest received

actual notice that it was allegedly infringing the ’365 Patent.

                             FOURTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff asserts that Amcrest indirectly infringes, either by contributory

infringement or inducement of infringement, Amcrest is not liable to Plaintiff for the acts alleged

to have been performed before Amcrest knew that its actions would cause indirect infringement.

                              FIFTH AFFIRMATIVE DEFENSE

       The claims of the ’365 Patent are not entitled to a scope sufficient to encompass any

system employed or process practiced by Amcrest.




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                               SIXTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

granted.

                             SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

’365 Patent does not claim patent eligible subject matter under 35 U.S.C. § 101.

                              EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that any system employed by

Amcrest practices: “sending a request from a requesting positional information device to a server

for at least one address stored in at least one sending positional information device, the request

including a first identifier of the requesting positional information device”; and “receiving at the

requesting positional information device, from the server, a retrieved at least one address to the

requesting positional information device wherein the server determines a second identifier for

identifying the at least one sending positional information device based on the received first

identifier and retrieves the requested at least one address stored in the identified at least one

sending positional information device”; as required by Claim 1 of the ’365 Patent.
                               NINTH AFFIRMATIVE DEFENSE

       Plaintiff is estopped, based on statements, representations, and admissions made during

prosecution of the patent application resulting in the asserted patent, from asserting any

interpretation of any valid, enforceable claims of the ’365 Patent that would be broad enough to

cover any accused product alleged to infringe the asserted patent, either literally or by

application of the doctrine of equivalents.

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                                TENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C. §§ 286 and

287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering costs associated with its

action.

                             ELEVENTH AFFIRMATIVE DEFENSE

          Plaintiff is precluded from recovering its reasonable attorney’s fees, costs, and or

increased damages under 35 U.S.C. §§ 284 or 285.

                              TWELFTH AFFIRMATIVE DEFENSE

          Should Amcrest be found to infringe any valid, enforceable claim of the ’365 Patent, such

infringement was not willful.

                                 AMCREST’S COUNTERCLAIMS

          For its counterclaims against Plaintiff Social Positioning Input Systems, LLC (“Social

Positioning”), Counterclaim Plaintiff Amcrest Corporation (“Amcrest”), alleges as follows:

                                               PARTIES

          1.       Counterclaim Plaintiff Amcrest is a corporation organized and existing under the

laws of Texas that maintains its principal place of business at 16727 Park Row, Houston TX

77084.

          2.       Upon information and belief based solely on Paragraph 1 of the Complaint as

pled by Plaintiff, Counterclaim Defendant Social Positioning Input Systems, LLC is a limited

liability company organized and existing under the laws of Wyoming that maintains its principal

place of business at 1801 NE 123 Street, Suite 314, Miami, FL 33181.

                                           JURISDICTION

          3.       Amcrest incorporates by reference Paragraphs 1–2 above.
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       4.        These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.        Social Positioning has consented to the personal jurisdiction of this Court at

least by commencing its action for patent infringement in this District, as set forth in its

Complaint.

       6.        Based solely on Social Positioning’s filing of this action, venue is proper for

purposes of these counterclaims in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                             COUNT I
     DECLARATION REGARDING NON-INFRINGEMENT OF THE ’365 PATENT

       7.        Amcrest incorporates by reference Paragraphs 1–6 above.

       8.        Based on Social Positioning’s filing of this action and at least Amcrest’s first

affirmative defense, an actual controversy has arisen and now exists between the parties as to

whether Amcrest infringes U.S. Patent No. 9,261,365 (the “’365 Patent”).

       9.        Amcrest does not infringe at least Claim 1 of the ’365 Patent because, inter alia,

Plaintiff has not stated a plausible allegation that any system employed by Amcrest practices:

“sending a request from a requesting positional information device to a server for at least one

address stored in at least one sending positional information device, the request including a first

identifier of the requesting positional information device”; and “receiving at the requesting

positional information device, from the server, a retrieved at least one address to the requesting

positional information device wherein the server determines a second identifier for identifying

the at least one sending positional information device based on the received first identifier and

retrieves the requested at least one address stored in the identified at least one sending positional

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information device.”

       10.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Amcrest requests a declaration by the Court that Amcrest has not infringed and does not infringe

any claim of the ’365 Patent under any theory (including directly (whether individually or

jointly) or indirectly (whether contributorily or by inducement).

                                    COUNT II
                        DECLARATION REGARDING INVALIDITY

       11.       Amcrest incorporates by reference Paragraphs 1–10 above.

       12.       Based on Social Positioning’s filing of this action and at least Amcrest’s Second

Affirmative Defense, an actual controversy has arisen and now exists between the parties as to

the validity of the claims of the ’365 Patent.

       13.       On information and belief, the claims of the ’365 Patent are invalid for failure to

comply with one or more of the requirements of United States Code, Title 35, and the rules,

regulations, and laws pertaining thereto.

       14.       For example, as explained in Amcrest’s Motion to Dismiss pursuant to Fed. R.

Civ. P. 12(b)(6), incorporated by reference herein, the ’365 Patent is invalid for failure to comply

with 35 U.S.C. § 101. As explained, the ’365 Patent claims nothing more than an abstract idea,

and it fails to claim an inventive concept.

       15.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Amcrest requests a declaration by the Court that the claims of the ’365 Patent are invalid for failure

to comply with one or more of the requirements of United States Code, Title 35, including without

limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining

thereto.

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       16.      Amcrest does not have an adequate remedy at law.

                                    PRAYER FOR RELIEF

       WHEREFORE, Amcrest asks this Court to enter judgment in Amcrest’s favor and

against Social Positioning by granting the following relief:

       a)       a declaration that the ’365 Patent is invalid;

       b)       a declaration that Amcrest does not infringe, under any theory, any valid claim

of the ’365 Patent that may be enforceable;

       c)       a declaration that Social Positioning take nothing by its Complaint;

       d)       judgment against Social Positioning and in favor of Amcrest;

       e)       dismissal of the Complaint with prejudice;

       f)       a finding that this case is an exceptional case under 35 U.S.C. § 285 and an

award to Amcrest of its costs and attorneys’ fees incurred in this action; and

       g)       further relief as the Court may deem just and proper.

                                        JURY DEMAND

       Amcrest hereby demands trial by jury on all issues.




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Dated: October 5, 2022                              FISH & RICHARDSON P.C.


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                                                   ATTORNEYS FOR DEFENDANT
                                                   AMCREST TECHNOLOGIES LLC




                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on October 5, 2022, to all counsel of record who are deemed to have

consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).



                                                           /s/ Neil J. McNabnay
                                                           Neil J. McNabnay




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